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            EXHIBIT 3
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                                              determining the character, amount, and                  in a Federal capital case in any manner               public record and made available for
                                              allocation of deductions in excess of                   consistent with Federal law and to make               public inspection at
                                              gross income succeeded to by a                          other amendments.                                     www.regulations.gov. Such information
                                              beneficiary on the termination of an                    DATES: Electronic comments must be                    includes personally identifiable
                                              estate or non-grantor trust.                            submitted and written comments must                   information (‘‘PII’’) (such as your name,
                                              DATES: The teleconference public                        be postmarked or otherwise indicate a                 address, etc.). Interested persons are not
                                              hearing, originally scheduled for                       shipping date on or before September 4,               required to submit their PII in order to
                                              Wednesday, August 12, 2020 at 10 a.m.                   2020. The electronic Federal Docket                   comment on this rule. However, any PII
                                              is cancelled.                                           Management System at                                  that is submitted is subject to being
                                                                                                      www.regulations.gov will accept                       posted to the publicly accessible
                                              FOR FURTHER INFORMATION CONTACT:
                                                                                                      electronic comments until 11:59 p.m.                  www.regulations.gov site without
                                              Regina Johnson of the Publications and
                                                                                                      Eastern Time on that date.                            redaction.
                                              Regulations Branch, Legal Processing                                                                             Confidential business information
                                              Division, Associate Chief Counsel                       ADDRESSES: If you wish to provide
                                                                                                                                                            clearly identified in the first paragraph
                                              (Procedure and Administration) at (202)                 comments regarding this rulemaking,
                                                                                                                                                            of the comment as such will not be
                                              317–5177 (not a toll-free number) or at                 you must submit comments, identified
                                                                                                                                                            placed in the public docket file. The
                                              publichearings@irs.gov.                                 by the agency name and referencing
                                                                                                                                                            Department may withhold from public
                                              SUPPLEMENTARY INFORMATION: A                            Docket No. OAG 171, by one of the two
                                                                                                                                                            viewing information provided in
                                              proposed rule;notice of public hearing                  methods below.
                                                                                                                                                            comments that it determines may
                                              that appeared in the Federal Register on                  • Federal eRulemaking Portal: http://
                                                                                                                                                            impact the privacy of an individual or
                                              July 17, 2020 (85 FR 43512) announced                   www.regulations.gov. Follow the
                                                                                                                                                            is offensive. For additional information,
                                              that a public hearing was scheduled for                 website instructions for submitting
                                                                                                                                                            please read the Privacy Act notice that
                                              Wednesday, August 12 at 10 a.m. as a                    comments.
                                                                                                        • Mail: Paper comments that                         is available via the link in the footer of
                                              teleconference public hearing, Internal                                                                       http://www.regulations.gov. To inspect
                                                                                                      duplicate an electronic submission are
                                              Revenue Service Building, 1111                                                                                the agency’s public docket file in
                                                                                                      unnecessary. If you wish to submit a
                                              Constitution Avenue NW, Washington,                                                                           person, you must make an appointment
                                                                                                      paper comment in lieu of electronic
                                              DC. The subject of the public hearing is                                                                      with the agency. Please see the FOR
                                                                                                      submission, please direct the mail/
                                              under section 67(g) of the Internal                                                                           FURTHER INFORMATION CONTACT
                                                                                                      shipment to: Laurence E. Rothenberg,
                                              Revenue Code.                                                                                                 paragraph above for agency contact
                                                                                                      Deputy Assistant Attorney General,
                                                 The public comment period for these                                                                        information.
                                                                                                      Office of Legal Policy, U.S. Department
                                              regulations expired June 25, 2020. The
                                                                                                      of Justice, 950 Pennsylvania Ave. NW,                 II. Background and Purpose
                                              notice of proposed rulemaking and
                                                                                                      Washington, DC 20530. To ensure                          The Federal Death Penalty Act
                                              notice of hearing instructed those
                                                                                                      proper handling, please reference the                 provides generally that a capital
                                              interested in testifying at the public
                                                                                                      agency name and Docket No. OAG 171                    sentence in a Federal case is to be
                                              hearing to submit an outline of the
                                                                                                      on your correspondence. Mailed items                  implemented ‘‘in the manner prescribed
                                              topics to be discussed. The outline of
                                                                                                      must be postmarked or otherwise                       by the law of the State in which the
                                              topics to be discussed was due by July
                                                                                                      indicate a shipping date on or before the             sentence is imposed.’’ 18 U.S.C. 3596(a).
                                              29, 2020. As of July 29, 2020, no one has
                                                                                                      submission deadline.                                  However, if the ‘‘law of the State in
                                              requested to speak. Therefore, the
                                              public hearing scheduled for August 12,                 FOR FURTHER INFORMATION CONTACT:                      which the sentence is imposed’’ ‘‘does
                                              2020 at 10:00 a.m. is cancelled.                        Laurence E. Rothenberg, Deputy                        not provide for implementation of a
                                                                                                      Assistant Attorney General, Office of                 sentence of death,’’ then the statute
                                              Martin V. Franks,                                       Legal Policy, U.S. Department of Justice,             directs the court to designate another
                                              Branch Chief, Publications and Regulations              (202) 514–3116.                                       State whose law does ‘‘provide for the
                                              Branch, Legal Processing Division, Associate            SUPPLEMENTARY INFORMATION:                            implementation of a sentence of death,’’
                                              Chief Counsel, (Procedure and                                                                                 ‘‘and the sentence shall be implemented
                                              Administration).                                        I. Public Participation                               in the latter State in the manner
                                              [FR Doc. 2020–17126 Filed 8–4–20; 8:45 am]                 Interested persons are invited to                  prescribed by such law.’’ Id.
                                              BILLING CODE 4830–01–P                                  participate in this rulemaking by                        The current execution regulations of
                                                                                                      submitting written data, views, or                    the Department direct the attorney for
                                                                                                      arguments on all aspects of this rule via             the government to ‘‘file with the
                                              DEPARTMENT OF JUSTICE                                   one of the methods and by the deadline                sentencing court a proposed Judgment
                                                                                                      stated above. All comments must be                    and Order’’ stating that ‘‘[t]he sentence
                                              Office of the Attorney General                          submitted in English, or accompanied                  shall be executed by intravenous
                                                                                                      by an English translation. The                        injection of a lethal substance or
                                              28 CFR Part 26                                          Department of Justice (‘‘Department’’ or              substances in a quantity sufficient to
                                              [Docket Number OAG 171; AG Order No.                    ‘‘DOJ’’) also invites comments that relate            cause death.’’ 28 CFR 26.2(a). The
                                              4749–2020]                                              to the economic, environmental, or                    regulations further state that, except to
                                                                                                      federalism effects that might result from             the extent a court orders otherwise, a
                                              RIN 1105–AB63                                           this rule. Comments that will provide                 sentence of death shall be executed on
                                                                                                      the most assistance to the Department in              a date and at a time and at a ‘‘federal
                                              Manner of Federal Executions
                                                                                                      developing these procedures will                      penal or correctional institution
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                                              AGENCY: Office of the Attorney General,                 reference a specific portion of the rule,             designated by the Director of the Federal
                                              Department of Justice.                                  explain the reason for any                            Bureau of Prisons . . . [b]y intravenous
                                              ACTION: Proposed rule.                                  recommended change, and include data,                 injection of a lethal substance or
                                                                                                      information, or authority that support                substances in a quantity sufficient to
                                              SUMMARY: The Department of Justice is                   such recommended change.                              cause death.’’ Id. § 26.3(a). Furthermore,
                                              proposing to amend regulations to                          Please note that all comments                      the Federal Bureau of Prisons facility for
                                              authorize implementation of a sentence                  received are considered part of the                   carrying out executions, located at the


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                                              Terre Haute correctional complex in                     capital punishment uses lethal injection              from denial of certiorari) (discussing a
                                              Indiana, is equipped for carrying out                   ‘as the exclusive or primary means of                 prisoner’s claim that the firing squad
                                              executions only by lethal injection.                    implementing the death penalty.’ ’’                   should be imposed as an alternative
                                                 This proposed rule would provide the                 (quoting Baze v. Rees, 553 U.S. 35, 42                method in Alabama).
                                              Federal Government with greater                         (2008) (plurality opinion))), but some                   Nonetheless, in these cases, litigants
                                              flexibility to conduct executions in any                States currently authorize execution by               have argued, and some jurists have
                                              manner allowed by federal law and                       other means in certain circumstances,                 noted, that there is evidence that certain
                                              implement the statutory authorization                   and more States may authorize                         alternative means of execution may be
                                              in the Federal Death Penalty Act, at 18                 execution by other means in the future.               humane methods of execution if they
                                              U.S.C. 3597, that provides that State and               See, e.g., Ala. Code 15–18–82.1(a) (by                were made available. See Bucklew, 139
                                              local facilities and personnel may be                   lethal injection but electrocution or                 S. Ct. at 1142–43 (Breyer, J., dissenting)
                                              used in carrying out Federal executions.                nitrogen hypoxia may be elected); Miss.               (‘‘[The petitioner] introduced into the
                                                 The proposed regulation would also                   Code Ann. 99–19–51(1)–(4) (by lethal                  record reports from Oklahoma and
                                              clarify that the Attorney General has the               injection but by nitrogen hypoxia,                    Louisiana indicating that nitrogen
                                              authority to make all determinations of                 electrocution, or firing squad if other               hypoxia would be simple and
                                              issues with regard to execution                         methods are held unconstitutional or                  painless.’’); Glossip, 135 S. Ct. at 2797
                                              procedures, including designating other                 otherwise unavailable); Okla. Stat. tit.              (Sotomayor, J., dissenting) (‘‘At least
                                              DOJ officials to make such                              22, sec. 1014 (same); Ark. Code Ann. 5–               from a condemned inmate’s perspective,
                                              determinations, in line with the                        4–617(l) (by electrocution if execution               . . . [death by shooting’s] visible yet
                                              Attorney General’s well-established                     by lethal injection is invalidated); Fla.             relatively painless violence may be
                                              authority to manage the Department.                     Stat. 922.105 (by lethal injection but                vastly preferable[.]’’); Arthur, 137 S. Ct.
                                              Federal law vests all powers of                         electrocution may be elected); see also               at 734 (Sotomayor, J., dissenting from
                                              components of the Department in the                     Bucklew v. Precythe, 139 S. Ct. 1112,                 denial of certiorari) (‘‘In addition to
                                              Attorney General and permits the                        1142 (2019) (Breyer, J., dissenting)                  being near instant, death by shooting
                                              Attorney General to reassign powers                     (noting States permitting use of nitrogen             may also be comparatively painless.’’).
                                              among the components. See 28 U.S.C.                     hypoxia); Glossip v. Gross, 135 S. Ct.                The Supreme Court has long held that
                                              509 (‘‘All functions of other officers of               2726, 2796 (2015) (Sotomayor, J.,                     death by firing squad and death by
                                              the Department of Justice and all                       dissenting) (noting State using firing                electrocution do not violate the Eighth
                                              functions of agencies and employees of                  squad). One State has recently used                   Amendment’s prohibition on cruel and
                                              the Department of Justice are vested in                 electrocution. See Media Advisory,                    unusual punishment. See Wilkerson v.
                                              the Attorney General[.]’’); 28 U.S.C. 510               Tenn. Dep’t of Corr. (Dec. 5, 2019, 7:27              Utah, 99 U.S. 130, 130–31, 134–35
                                              (granting the Attorney General authority                p.m.), https://www.tn.gov/correction/                 (1878) (firing squad); In re Kemmler, 136
                                              to delegate powers to ‘‘any other officer,                                                                    U.S. 436 (1890) (electrocution); see also
                                                                                                      news/2019/12/5/media-advisory.html.
                                              employee, or agency of the Department                                                                         Bucklew, 139 S. Ct. at 1125.
                                                                                                      Some States also provide by law that a
                                              of Justice’’). When sections 3596 and                                                                            Furthermore, it is possible that a State
                                                                                                      prisoner may choose the manner of
                                              3597 of title 18 assign certain duties to                                                                     in the future will provide that a manner
                                                                                                      execution from among several options
                                              a component of DOJ, those assignments                                                                         other than lethal injection is the only
                                                                                                      in at least some circumstances. See Ala.
                                              are initial, default assignments.                                                                             authorized means of execution. Section
                                                                                                      Code 15–18–82.1(b); Ariz. Rev. Stat.
                                              However, those duties are legally vested                                                                      3596(a) would then require execution in
                                                                                                      Ann. 13–757(B); Cal. Penal Code 3604;
                                              in the Attorney General, and because of                                                                       that manner for a Federal offender
                                                                                                      Fla. Stat. 922.105; Ky. Rev. Stat. Ann.
                                              this, the Attorney General may also                                                                           sentenced in the State. The proposed
                                                                                                      431.220(1)(b); S.C. Code Ann. 24–3–
                                              assign those duties to other DOJ                                                                              rule would therefore forestall potential
                                                                                                      530(A); Tenn. Code Ann. 40–23–114(b);
                                              components, as is expressly permitted                                                                         future arguments by prisoners in
                                                                                                      Va. Code Ann. 53.1–234.
                                              by long-standing Federal law. Sections                                                                        litigation that they cannot be executed
                                              3596 and 3597 contain no language                          In recent U.S. Supreme Court                       under the existing regulation because
                                              expressly prohibiting the Attorney                      litigation involving Eighth Amendment                 the regulation does not expressly
                                              General from deciding or delegating                     challenges to execution by lethal                     authorize execution by means other
                                              matters relating to executions.                         injection, nitrogen hypoxia and firing                than lethal injection.
                                                 The issues addressed in the proposed                 squad have been identified as potential                  Accordingly, the proposed rule would
                                              rule are manner of execution, use of                    alternative methods of execution,                     amend the regulations to provide, in 28
                                              State and local facilities and personnel,               including by prisoners themselves, that               CFR 26.3(a)(4), that Federal executions
                                              and other amendments.                                   might—or even must—be used instead                    are to be carried out by lethal injection
                                                                                                      of lethal injection, in particular because            ‘‘or by any other manner prescribed by
                                              A. Manner of Execution                                  those methods allegedly carry a lesser                the law of the State in which the
                                                Section 3596 of title 18 provides that                risk of pain. The Supreme Court has                   sentence was imposed or which has
                                              Federal executions are to be carried out                rejected such arguments in the case of                been designated by a court in
                                              in the manner prescribed by the law of                  nitrogen hypoxia, in part because it has              accordance with 18 U.S.C. 3596(a).’’
                                              the relevant State, and the Federal                     not been shown that the proffered                     (There is no similar change to
                                              execution regulations provide that                      alternative can be readily implemented                § 26.2(a)(2) as the proposed rule
                                              Federal executions are to be carried out                by the relevant State and is less likely              proposes to rescind that section entirely,
                                              by lethal injection except to the extent                to cause pain. See Bucklew, 139 S. Ct.                as discussed below.) The proposed rule
                                              a court orders otherwise, 28 CFR                        at 1129–33 (regarding nitrogen hypoxia);              thus ensures that the Department is
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                                              26.2(a)(2), 26.3(a). Execution by lethal                id. at 1142–43 (Breyer, J., dissenting)               authorized to use the widest range of
                                              injection is now universally authorized                 (same); see also id. at 1136 (Kavanaugh,              humane manners of execution permitted
                                              in States that have capital punishment,                 J., concurring) (regarding firing squad);             by law.
                                              see In re Fed. Bureau of Prisons’                       Glossip, 135 S. Ct. at 2739 (same); id. at
                                              Execution Protocol Cases, 955 F.3d 106,                 2796–97 (Sotomayor, J., dissenting)                   B. Use of State Facilities
                                              114 (D.C. Cir. 2020) (Katsas, J.,                       (same); Arthur v. Dunn, 137 S. Ct. 725,                 The current regulations provide that a
                                              concurring) (‘‘Every state that authorizes              733–34 (2017) (Sotomayor, J., dissenting              Federal execution shall occur ‘‘[a]t a


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                                              federal penal or correctional institution               about execution procedures by replacing               B. Executive Orders 12866, 13563, and
                                              designated by the Director of the Federal               the term ‘‘Warden’’ (or ‘‘Warden of the               13771—Regulatory Planning and
                                              Bureau of Prisons.’’ 28 CFR 26.3(a)(2).                 designated institution’’) with ‘‘Director             Review
                                              Under the proposed amendments to the                    of the Federal Bureau of Prisons or his                  This proposed regulation has been
                                              regulation, the Government will have                    designee’’ in §§ 26.3(a)(3), 26.4(a),                 drafted and reviewed in accordance
                                              the authority to carry out an execution                 26.4(c)(1), 26.4(c)(4), 26.4(e), and                  with Executive Order 12866,
                                              in any appropriate Federal, State, or                   26.4(g), and deleting ‘‘Warden’’ in                   ‘‘Regulatory Planning and Review,’’
                                              local facility. For example, as discussed               § 26.4(b) and in the first line of § 26.4(c).         section 1(b), ‘‘The Principles of
                                              above, future situations may arise in
                                                                                                         Fifth, the proposed rule would amend               Regulation,’’ and Executive Order
                                              which it is necessary to carry out an
                                                                                                      § 26.3(a)(3) to authorize the Director of             13563, ‘‘Improving Regulation and
                                              execution by some means other than
                                                                                                      the Federal Bureau of Prisons to choose               Regulatory Review.’’ The Office of
                                              lethal injection, which could be beyond
                                                                                                      the personnel to carry out the sentence.              Information and Regulatory Affairs has
                                              the current capacities of Federal
                                                                                                      To do so, the proposed rule strikes, in               determined that this proposed rule is a
                                              facilities.
                                                 If cases of this nature arise, the most              § 26.3(a)(3), ‘‘the Marshal and’’.                    ‘‘significant regulatory action’’ under
                                              expedient means of carrying out the                                                                           Executive Order 12866, section 3(f).
                                                                                                         Sixth, the proposed rule would in                     This proposed rule, if made final, may
                                              execution may be to arrange for State                   § 26.3(a)(3) clarify that qualified
                                              assistance. This is expressly authorized                                                                      entail financial costs if, at some point in
                                                                                                      personnel must be used for any manner                 the future, a prisoner is to be executed
                                              by section 3597(a), which provides that                 of execution.
                                              State and local facilities and personnel                                                                      by a manner other than lethal injection.
                                              may be used in carrying out Federal                        Seventh, the proposed rule makes an                The Department would then either have
                                              executions. The proposed rule provides                  edit to § 26.4(b) to clarify that ‘‘the               to provide its own system for an
                                              for such use by amending the                            institution’’ refers to the correctional              execution by a manner other than lethal
                                              regulations through striking ‘‘federal’’                institution that has been designated in               injection or pay for the use of State or
                                              before ‘‘penal or correctional                          § 26.3(a)(2).                                         local facilities and personnel to perform
                                              institution’’ in § 26.3(a)(2) and replacing                                                                   the execution. In such a circumstance,
                                                                                                         Eighth, an additional edit to § 26.4(b)
                                              ‘‘[b]y’’ with ‘‘[u]nder the supervision of’’                                                                  the cost would likely be the
                                                                                                      clarifies that the Director has the
                                              a United States Marshal in § 26.3(a)(3).                                                                      development of Federal capabilities to
                                                                                                      discretion to grant a prisoner’s request
                                                                                                                                                            implement such a sentence or payment
                                              C. Additional Amendments                                to visit with additional persons as the               for the use of State or local facilities and
                                                                                                      Director deems proper.                                personnel.
                                                 The proposed rule also proposes a
                                              number of other changes to the                             Ninth, to clarify the responsibility of               This proposed rule is not expected to
                                              regulations, as follows:                                the Marshal regarding notification to the             be a regulatory action for purposes of
                                                 First, it proposes to amend § 26.1 to                sentencing court that the execution has               Executive Order 13771.
                                              clarify application of the regulations in               been carried out, in § 26.4(g), the
                                                                                                                                                            C. Executive Order 13132—Federalism
                                              certain circumstances. It designates                    proposed rule states that the Marshal
                                              existing language in that section as                    ‘‘shall ensure that appropriate notice of                This proposed regulation will not
                                              paragraph (a), and creates new § 26.1(b)                the sentence’s implementation is filed                have substantial direct effects on the
                                              that would provide the Attorney                         with the sentencing court,’’ replacing                States, on the relationship between the
                                              General the flexibility to vary from the                the existing requirement that the                     National Government and the States, or
                                              regulation in the event that applicable                 Marshal sign a return referenced in                   on the distribution of power and
                                              law (such as controlling State law)                     § 26.2(b).                                            responsibilities among the various
                                              requires different procedures, stating                                                                        levels of government. Section 3597 of
                                                                                                         Tenth, the proposed rule would                     title 18 provides that the Federal
                                              that where applicable law conflicts with
                                                                                                      extend to non-DOJ employees                           Government ‘‘may use appropriate State
                                              any provision of part 26, the Attorney
                                                                                                      (including contractors) existing                      or local facilities for the purpose [of
                                              General may vary from that provision to
                                                                                                      protections that currently apply to DOJ               implementing a sentence of death], may
                                              the extent necessary to comply with the
                                                                                                      employees, allowing them not to be in                 use the services of an appropriate State
                                              applicable law. It also adds new
                                              § 26.1(c) to reiterate the Attorney                     attendance at or to participate in any                or local official or of a person such an
                                              General’s authority to manage the                       execution if such attendance or                       official employs for the purpose, and
                                              Department’s execution process, by                      participation is contrary to the moral or             shall pay the costs thereof.’’ The
                                              stating that any task or duty assigned to               religious convictions of the DOJ                      statutory authorization and the
                                              any officer or employee of the                          employee. The new language is almost                  proposed rule to implement it are
                                              Department of Justice under part 26 may                 the exact language on this matter from                directed at the Federal Government.
                                              be delegated by the Attorney General to                 18 U.S.C. 3597(b).                                    Neither the statute nor the proposed
                                              any other officer or employee of the                    III. Regulatory Review                                rule imposes any requirements for
                                              Department of Justice.                                                                                        action or costs on States. Therefore, in
                                                 Second, the proposed rule would                      A. Regulatory Flexibility Act                         accordance with Executive Order 13132,
                                              eliminate unnecessary and redundant                                                                           it is determined that this proposed rule
                                              language in the regulations by striking                   The Attorney General, in accordance                 does not have sufficient federalism
                                              the entirety of § 26.2 and reserving that               with the Regulatory Flexibility Act (5                implications to warrant the preparation
                                              section for future use.                                 U.S.C. 605(b)), has reviewed this                     of a federalism assessment.
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                                                 Third, the proposed rule would                       proposed regulation and by approving it
                                                                                                      certifies that this proposed regulation               E. Executive Order 12988—Civil Justice
                                              amend the heading of § 26.3 to replace
                                                                                                      would not have a significant economic                 Reform
                                              ‘‘method’’ with ‘‘manner,’’ in
                                              accordance with the language used in                    impact on a substantial number of small                 This proposed regulation meets the
                                              the statute.                                            entities because it concerns the manner               applicable standards set forth in
                                                 Fourth, the proposed rule would                      of implementing Federal capital                       sections 3(a) and 3(b)(2) of Executive
                                              clarify responsibilities for decisions                  sentences.                                            Order 12988.


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                                              F. Unfunded Mandates Reform Act of                      § 26.3 Date, time, place, and manner of                 (iii) Three adult friends or relatives;
                                              1995                                                    execution.                                            and
                                                                                                        (a) * * *                                             (4) Not more than the following
                                                This proposed rule will not result in                   (2) At a penal or correctional
                                              the expenditure by State, local, and                                                                          numbers of persons selected by the
                                                                                                      institution designated by the Director of
                                              Tribal governments, in the aggregate, or                the Federal Bureau of Prisons;                        Director of the Federal Bureau of
                                              by the private sector, of $100 million or                 (3) Under the supervision of a United               Prisons or his designee:
                                              more in any one year, and it will not                   States Marshal designated by the                        (i) Eight citizens; and
                                              significantly or uniquely affect small                  Director of the United States Marshals
                                              governments. Therefore, no actions were                                                                         (ii) Ten representatives of the press.
                                                                                                      Service, assisted by additional qualified
                                              deemed necessary under the provisions                   personnel selected by the Director of the             *      *    *     *     *
                                              of the Unfunded Mandates Reform Act                     Federal Bureau of Prisons or his                        (e) The Director of the Federal Bureau
                                              of 1995.                                                designee and acting at the direction of               of Prisons or his designee should notify
                                              G. Congressional Review Act                             the Marshal; and                                      those individuals described in
                                                                                                        (4) By intravenous injection of a lethal            paragraph (c) of this section as soon as
                                                 This proposed rule is not expected to                substance or substances in a quantity
                                              be a major rule as defined by the                                                                             practicable before the designated time of
                                                                                                      sufficient to cause death, such substance             execution.
                                              Congressional Review Act, 5 U.S.C. 804.                 or substances to be determined by the
                                              This rule will not result in an annual                                                                        *      *    *     *     *
                                                                                                      Director of the Federal Bureau of
                                              effect on the economy of $100 million                   Prisons, or by any other manner                         (g) After the execution has been
                                              or more; a major increase in costs or                   prescribed by the law of the State in                 carried out, qualified personnel selected
                                              prices; or significant adverse effects on               which the sentence was imposed or                     by the Director of the Federal Bureau of
                                              competition, employment, investment,                    which has been designated by a court in               Prisons or his designee shall conduct an
                                              productivity, or innovation, or on the                  accordance with 18 U.S.C. 3596(a).                    examination of the body of the prisoner
                                              ability of United States-based                                                                                to determine that death has occurred
                                              enterprises to compete with foreign-                    *     *     *     *      *
                                                                                                      ■ 5. Amend § 26.4 by revising                         and shall inform the Marshal and
                                              based enterprises in domestic and
                                                                                                      paragraphs (a), (b), (c), (e), and (g) to             Director of the Federal Bureau of
                                              export markets.
                                                                                                      read as follows:                                      Prisons or his designee of his
                                              List of Subjects in 28 CFR Part 26                                                                            determination. Upon notification of the
                                                                                                      § 26.4   Other execution procedures.
                                                Law enforcement officers, Prisoners.                                                                        prisoner’s death, the Marshal shall
                                                                                                        (a) The Director of the Federal Bureau              ensure that appropriate notice of the
                                                Accordingly, for the reasons stated in                of Prisons or his designee shall notify
                                              the preamble, part 26 of chapter I of title                                                                   sentence’s implementation is filed with
                                                                                                      the prisoner under sentence of death of               the sentencing court.
                                              28 of the Code of Federal Regulations is                the date designated for execution at
                                              proposed to be amended as follows:                      least 20 days in advance, except when                 *      *    *     *     *
                                                                                                      the date follows a postponement of                    ■ 6. Amend § 26.5 by revising the first
                                              PART 26—DEATH SENTENCES                                 fewer than 20 days of a previously                    sentence to read as follows:
                                              PROCEDURES                                              scheduled and noticed date of
                                                                                                      execution, in which case the Director of              § 26.5 Attendance at or participation in
                                              ■ 1. The authority citation for part 26 is                                                                    executions by Department of Justice
                                              revised to read as follows:                             the Federal Bureau of Prisons or his
                                                                                                      designee shall notify the prisoner as                 personnel.
                                                Authority: 5 U.S.C. 301; 18 U.S.C. 4001(b),           soon as possible.                                        No officer or employee of the
                                              4002, 3596, 3597; 28 U.S.C. 509, 510, 2261,               (b) Beginning seven days before the
                                              2265.                                                                                                         Department of Justice or a State
                                                                                                      designated date of execution, the                     department of corrections, or any
                                              ■ 2. Amend § 26.1 by:                                   prisoner shall have access only to his                employee providing services to those
                                              ■ a. Designating the existing language as               spiritual advisers (not to exceed two),               departments under contract, shall be
                                              paragraph (a); and                                      his defense attorneys, members of his                 required, as a condition of that
                                              ■ b. Adding paragraphs (b) and (c) to                   family, and the officers and employees                employment or contractual obligation,
                                              read as follows:                                        of the institution designated in
                                                                                                                                                            to be in attendance at or to participate
                                                                                                      § 26.3(a)(2). Upon approval of the
                                              § 26.1   Applicability.                                                                                       in any execution if such attendance or
                                                                                                      Director of the Federal Bureau of
                                              *     *     *     *    *                                Prisons, the prisoner may be granted                  participation is contrary to the moral or
                                                (b) Where applicable law conflicts                    access to such other persons as the                   religious convictions of the officer or
                                              with any provision of this part, the                    prisoner may request.                                 employee, or, if the employee is a
                                              Attorney General may vary from that                       (c) In addition to the Marshal, the                 medical professional, if the employee
                                              provision to the extent necessary to                    following persons shall be present at the             considers such participation or
                                              comply with the applicable law.                         execution:                                            attendance contrary to medical ethics.
                                                (c) Any task or duty assigned to any                    (1) Necessary personnel selected by                 * * *
                                              officer or employee of the Department of                the Marshal and the Director of the                     Dated: July 7, 2020.
                                              Justice by this part may be delegated by                Federal Bureau of Prisons or his
                                                                                                                                                            William P. Barr,
                                              the Attorney General to any other officer               designee;
                                              or employee of the Department of                          (2) Those attorneys of the Department               Attorney General.
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                                              Justice.                                                of Justice whom the Deputy Attorney                   [FR Doc. 2020–15039 Filed 8–4–20; 8:45 am]
                                                                                                      General determines are necessary;                     BILLING CODE 4410–19–P
                                              § 26.2   [Removed and Reserved]                           (3) Not more than the following
                                              ■ 3. Remove and reserve § 26.2.                         numbers of persons selected by the
                                              ■ 4. Amend § 26.3 by revising the                       prisoner:
                                              section heading and paragraphs (a)(2),                    (i) One spiritual adviser;
                                              (3), and (4) to read as follows:                          (ii) Two defense attorneys; and


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